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                        EXHIBIT
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From:                 WSP Server <DBSServer@dbsinfo.net> on behalf of OJF SERVICES <octavio@ojfservices.com>
Sent:                 Wednesday, August 21, 2024 9:05 AM
To:                   Busser, Suzanne M (FTL - X27887); Arias, Michelle (FTL - X27818); Swain, Martell R (FTL - X27992);
                      Neeranjan, Kylee (FTL - X27981)
Subject:              OJF Status on 094000.13078 (DATIS, EVENS)


[External email]

To: SUZANNE BUSSER
  HOLLAND & KNIGHT, LLP

This is an automated message relating to:

  Our Job Number: 2024019700
  Your Reference Number: 094000.13078
  Party To Be Served: DATIS, EVENS
  Documents To Be Served: ORDER TO SHOW CAUSE; ORDER TO SERVE; AND ORDER PROHIBITING REMOVAL OF CHILD
  Case Info: Florida SOUTHERN 9:24-CV-80958-AMC
  Case Style: TERCILMENE MONERO vs. EVENS DATIS

Original Service Address: EVENS DATIS, 803 LIDO CIR, APT 101, LAKE PARK, FL 33403

Status Update for EVENS DATIS, 803 LIDO CIR, APT 101, LAKE PARK, FL 33403

Latest Status: 8/21/2024 7:07 am Attempted service at 803 LIDO CIR APT 101, LAKE PARK, FL 33403, N/S Per black female at
the door stated subject is known to her and he has used this address before for mailing but does not reside here in fact she
has not seen him for few months and his current whereabouts are unknown, wouldn't say relation if any , no further
information was provided, no directory on building, no assigned parking, no leasing office on site .

Thank you,
OJF SERVICES
octavio@ojfservices.com
Phone: (954) 929-4215

More detailed status is available at https://ojf.sopstatus.com

Click Here to make a payment




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